09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 1 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 2 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 3 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 4 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 5 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 6 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 7 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 8 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 9 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 10 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 11 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 12 of 13
09-05025-WLH7   Doc 521-1   Filed 02/08/21   Entered 02/09/21 15:41:35   Pg 13 of 13
